
174 P.3d 1120 (2007)
217 Or. App. 398
STATE of Oregon, Plaintiff-Respondent,
v.
Peter James DINSMOOR, Defendant-Appellant.
041236783; A129289.
Court of Appeals of Oregon.
Submitted on Record and Briefs August 31, 2007.
Decided December 26, 2007.
Peter Ozanne, Executive Director, Peter Gartlan, Chief Defender, Legal Services Division, and Stephanie Hortsch, Deputy Public Defender, Office of Public Defense Services, filed the briefs for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Laura S. Anderson, Senior Assistant Attorney General, filed the brief for respondent.
Before BREWER, Chief Judge, and ORTEGA, Judge, and DEITS, Judge pro tempore.
PER CURIAM.
Affirmed. State v. Rodriguez, 217 Or.App. 24, ___ P.3d ___ (2007).
